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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                           Case No. 00-80541
                                                   HON. GEORGE CARAM STEEH
vs.

YUK RUNG TSANG,

           Defendant.
______________________________/

                               ORDER OF CLARIFICATION

       Defendant Yuk Rung Tsang has requested that the court clarify a protective order

it issued in July of 2007. That order prohibited contact between defendants (and “their

associates, friends, and family members”) and jurors involved in the matter of United States

v. Yuk Rung Tsang et al. (00-80541-Hon. George Caram Steeh) without prior written

approval of the court. Tsang now asks if that order applies to “attorneys and/or officers of

the court.”

       While the order does not specifically address such individuals, the court advises that

attorneys and officers of the court shall follow any and all applicable laws, court orders, and

ethical standards in engaging in any post-trial contact with jurors.

       IT IS SO ORDERED.

Dated: October 31, 2012
                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE
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                             CERTIFICATE OF SERVICE

             Copies of this Order were served upon attorneys of record and
                    on Yuk Rung Tsang #37357-053, FCI Fort Dix,
                         P. O. Box 2000, Fort Dix, NJ 08640 on
                 October 31, 2012, by electronic and/or ordinary mail.

                                   s/Barbara Radke
                                     Deputy Clerk




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